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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ADIDAS AMERICA, INC., and
ADIDAS AG,

21-cv-5615 (JSR)
Plaintiff,

ORDER

THOM BROWNE, INC.,

Defendants.

JED S. RAKOFF, U.S.D.Jd.

On October 21, 2022, plaintiffs adidas America, Inc. and
adidas AG (collectively, “adidas”} and defendant Thom Browne, Inc.
(“Thom Browne”) filed cross-motions for summary judgment. See ECF
Nos. 88, 96. On November 22, 2022, adidas filed a motion to strike
Thom Browne’s reply statement of objections and responses to
adidas’s statement of undisputed material facts. See ECF No. 154
(the motion to strike); ECF Nos. 152-3 (the reply statement).

Upon due consideration, the Court hereby denies adidas’s
motion to strike. Additionally, the Court hereby denies Thom
Browne’s motion for summary judgment and grants that of adidas in
part. The Court hereby enters summary judgment in favor of adidas
on Thom Browne’s fourteenth affirmative defense and on the portions
of Thom  Browne’s first affirmative defense that assert

acquiescence and estoppel. The Court denies summary judgment to

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either party on the portion of Thom Browne’s first affirmative
defense that asserts laches. The Court will issue an opinion
setting forth the reasons for these rulings by no later than
December 16, 2022.

The Clerk is respectfully directed to close document numbers

88, 96, and 154 on the docket of this case.

SO ORDERED.
Dated: New York, NY \ Lb (C4
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December QA , 2022 JED S. RAKOFF, U.S.D.J.

